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                              U.S. District Court
                  Eastern District of New York (Central Islip)
            CIVIL DOCKET FOR CASE #: 2:23-cv-06825-NGG-JMW


Yousefzadeh v. Johnson & Johnson Consumer Inc.               Date Filed: 09/13/2023
Assigned to: Judge Nicholas G. Garaufis                      Jury Demand: Plaintiff
Referred to: Magistrate Judge James M. Wicks                 Nature of Suit: 190 Contract: Other
Demand: $5,000,000                                           Jurisdiction: Diversity
Cause: 28:1332 Diversity-Other Contract
Plaintiff
Sandra Yousefzadeh                        represented by Darren T. Kaplan
individually and on behlaf of all                        Kaplan Gore LLP
others similarly situated                                1979 Marcus Ave.
                                                         Suite 201
                                                         Lake Success, NY 11042
                                                         212-999-7370
                                                         Email:
                                                         DKAPLAN@KAPLANGORE.COM
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Johnson & Johnson Consumer
Inc.


Date Filed       # Docket Text
09/13/2023       1 COMPLAINT against Johnson & Johnson Consumer Inc. filing fee $ 402,
                   receipt number ANYEDC-17083270 Was the Disclosure Statement on
                   Civil Cover Sheet completed -Yes,, filed by Sandra Yousefzadeh.
                   (Attachments: # 1 Civil Cover Sheet, # 2 Proposed Summons) (Kaplan,
                   Darren) (Entered: 09/13/2023)
09/15/2023       2 This attorney case opening filing has been checked for quality control. See
                   the attachment for corrections that were made. (LJ) (Entered: 09/15/2023)
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09/15/2023      Case Assigned to Judge Nicholas G. Garaufis and Magistrate Judge James
                M. Wicks. Please download and review the Individual Practices of the
                assigned Judges, located on our website. Attorneys are responsible for
                providing courtesy copies to judges where their Individual Practices
                require such. (LJ) (Entered: 09/15/2023)
09/15/2023   3 In accordance with Rule 73 of the Federal Rules of Civil Procedure and
               Local Rule 73.1, the parties are notified that if all parties consent a United
               States magistrate judge of this court is available to conduct all proceedings
               in this civil action including a (jury or nonjury) trial and to order the entry
               of a final judgment. Attached to the Notice is a blank copy of the consent
               form that should be filled out, signed and filed electronically only if all
               parties wish to consent. The form may also be accessed at the following
               link: http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf.
               You may withhold your consent without adverse substantive
               consequences. Do NOT return or file the consent unless all parties
               have signed the consent. (LJ) (Entered: 09/15/2023)
09/15/2023   4 Summons Issued as to Johnson & Johnson Consumer Inc. (LJ) (Entered:
               09/15/2023)



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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 SANDRA YOUSEFZADEH, individually and
                                                               Case No.
 on behalf of all others similarly situated,

                                           Plaintiff,
                                                               CLASS ACTION COMPLAINT
            v.

 JOHNSON & JOHNSON CONSUMER, INC.,                             JURY TRIAL DEMANDED

                                          Defendant.


       Plaintiff Sandra Yousefzadeh, individually and on behalf of all others similarly situated,

for her Class Action Complaint against Defendant Johnson & Johnson Consumer, Inc. (“JJCI”),

based upon personal knowledge as to her own actions and based upon the investigation of

counsel with respect to all other matters, complains as follows:

                                     I.         INTRODUCTION

       1.        JJCI sold and marketed directly to Plaintiff and the Class an over-the counter

medication known as Sudafed PE® (“Sudafed PE”) containing the active ingredient

Phenylephrine (“PE”), which purports to act as an oral nasal decongestant.

       2.        JJCI markets Sudafed PE to consumers as an effective oral nasal decongestant

through tens of millions of dollars in advertising annually.

       3.        A Food and Drug Administration Nonprescription Drugs Advisory Committee

(NDAC) has concluded that PE is no more effective as an oral nasal decongestant than a placebo.

       4.        By purchasing Sudafed PE, Plaintiff and the Class did not receive a product that

was effective at treating nasal congestion.

       5.        Plaintiff and the Class have been damaged by JJCI’s actions. Plaintiff brings this

action under New York General Business Law §§ 349 and 350 and for unjust enrichment,



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because Plaintiff and the Class members did not receive the benefit of the bargain and/or

suffered out-of-pocket loss, and are entitled to recover compensatory damages, trebling where

permitted and attorneys’ fees and costs.

                             II.     JURISDICTION AND VENUE

       6.      This Court has jurisdiction over the subject matter presented by this Complaint

because it is a class action arising under the Class Action Fairness Act of 2005 (“CAFA”), Pub.

L. No. 109-2, 119 Stat. 4 (2005), which explicitly provides for the original jurisdiction of the

Federal Courts of any class action in which any member of the Class is a citizen of a State

different from any Defendant, and in which the matter in controversy exceeds in the aggregate

the sum of $5,000,000.00, exclusive of interest and costs. Plaintiffs allege that the total claims of

individual Class members in this action are in excess of $5,000,000.00 in the aggregate,

exclusive of interest and costs, as required by 28 U.S.C. §§ 1332(d)(2) and (6). Plaintiff is a

citizen of New York, whereas JJCI is a citizen of New Jersey for purposes of diversity.

Therefore, diversity of citizenship exists under CAFA as required by 28 U.S.C. § 1332(d)(2)(A).

Furthermore, the total number of members of the proposed Class is greater than 100, pursuant to

28 U.S.C. § 1332(d)(5)(B).

       7.      Venue is appropriate in this District because plaintiff resides here and made her

purchase of Sudafed here.

                                         III.    PARTIES

       8.      Plaintiff Sandra Yousefzadeh is a citizen and resident of the State of New York.

Plaintiff purchased two packages of 24 tablets of Sudafed from Amazon.com Services LLC

(“Amazon”) on August 23, 2023, for $6.97 per package. Plaintiff purchased Sudafed based on




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JJCI’s representation that Sudafed PE was, in fact, an effective nasal decongestant. Plaintiff was

actually deceived, and damaged by JJCI’s misrepresentations.

         9.     Defendant JJCI is a New Jersey corporation with its principal place of business in

Skillman, New Jersey. On information and belief, JJCI is a wholly owned subsidiary of Johnson

& Johnson, and JJCI’s McNeil Consumer Healthcare Division is responsible for all aspects of

making and selling Sudafed products, including research and development, quality control,

supply chain management, medical affairs, product packaging, product marketing (including

labeling), and regulatory/compliance functions.

         10.   On information and belief, non-party Amazon is JJCI’s agent for direct sales by

JJCI to consumers via the Amazon website.

                                         IV.      FACTS

      A. Background on Over-the-Counter Nasal Decongestant Medications

         11.   Over-the-counter nasal decongestants are advertised as providing temporary relief

of nasal congestion and pressure associated with a common cold, flu, sinus infection and

allergies. Over-the-counter nasal decongestants generally use one of two active ingredients

recognized as safe and effective for temporary relief of nasal congestion: pseudoephedrine and

PE.

         12.   The Combat Methamphetamine Epidemic Act of 2005 (“CMEA”) banned over-

the-counter sales of cold medicines that contain pseudoephedrine, which is commonly used to

make methamphetamine. The sale of cold medicine containing pseudoephedrine is limited to

behind the counter. The amount of pseudoephedrine that an individual can purchase each month

is limited and individuals are required to present photo identification to purchase products




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containing pseudoephedrine. In addition, stores are required to keep personal information about

purchasers for at least two years.

       13.       Because the CMEA, by design, made the purchase of cold medicines containing

pseudoephedrine inconvenient and time consuming, consumer health manufacturers began

offering cold medicines which contained an alternative active ingredient for the temporary relief

of nasal congestion that could still be purchased over-the-counter, that active ingredient is PE.

PE cannot be used to make methamphetamine.

       14.       Prior to the passage of the CMEA, JJCI’s most popular, market leading

decongestant products, which contained pseudoephedrine were sold under the “Sudafed” brand.

B.     JJCI Distributes, Markets and Sells Its Sudafed PE Products Containing
       Phenylephrine.

       15.        Following the effective date of the CMEA, consumer healthcare manufacturers,

including JJCI switched their distributing, marketing and sale efforts to decongestant products

that contained PE. JJCI’s Sudafed PE products all contain PE as the active ingredient for the

temporary relief of nasal congestion.

       16.       Apart from the names themselves, which described a particular type of nasal

congestion or combination of nasal congestion and other symptoms the product is intended to

treat, JJCI ‘s packaging for its Sudafed PE products trumpeted their effectiveness against nasal

congestion. For example, the packaging for “Sudafed PE Sinus Pressure + Pain” product

advertises that it contains “Phenylephrine HCI” and indicates that the product is a “Pain

Reliever/Fever Reducer, Nasal Decongestant.” Moreover, the packaging represents that it is

“MAXIMUM STRENGTH” for

             •   SINUS PRESSURE + CONGESTION

             •   SINUS HEADACHE



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       17.     Here, JJCI intended that consumers rely on the packaging to mean, of course, that

Sudafed PE Sinus Pressure + Pain would be safe and effective as a nasal decongestant and that it

would provide “MAXIMUM STRENGTH” relief of “Sinus Pressure + Congestion” as well as

“Sinus Headache.” In fact, as set forth below, the active ingredient in Sudafed PE Sinus Pressure

+ Pain” is no more effective as a nasal decongestant than a placebo.

C.     JJCI Deceived Plaintiff and the Class Because Sudafed PE Products Do Not Contain
       an Active Ingredient that is Effective as a Nasal Decongestant.

       18.     As early as 2007, the FDA’s Nonprescription Drugs Advisory Committee

(NDAC) met to discuss scientific data submitted in a citizen’s petition on February 1, 2007, that

showed that “orally administered PE is not effective at the monographed dosages.”

       19.     Following a long-running review of the evidence, and multiple studies, the FDA

reviewers announced as background for a meeting of the NDAC held on September 11-12, 2023

that: "we have now come to the initial conclusion that orally administered PE [phenylephrine] is




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not effective as a nasal decongestant at the monographed dosage (10 mg of PE hydrochloride

every 4 hours) as well as at doses up to 40 mg (dosed every 4 hours).” (emphasis added)

D.     Plaintiff and the Class Were Damaged.

       20.     Because Sudafed PE products do not contain an active ingredient that is effective

as a nasal decongestant, Plaintiff, as well as the Class she seeks to represent, suffered economic

damages as a result of purchasing Sudafed PE products in order to obtain temporary relief from

nasal congestion.

                             V.     CLASS ACTION ALLEGATIONS

       21.     Class Definition: Plaintiff brings this action pursuant to Rule 23(b)(3) of the

Federal Rules of Civil Procedure, on behalf of herself and a Class defined as follows:

       All persons that purchased Sudafed PE products within the state of New York for
       personal, family or household uses.
Excluded from the Class are Defendant, any entity in which Defendant has a controlling interest

and Defendant’s legal representatives, predecessors, succors, assigns, and employees. Also

excluded from the Class is any judge, justice or judicial officer presiding over this matter and the

members of their immediate families and judicial staff.

       22.     Numerosity: The proposed Class is so numerous that individual joinder of all

members is impracticable.

       23.     Common Questions of Law and Fact Predominate: There are many questions of

law and fact common to Plaintiff and the Class, and those questions substantially predominate

over any questions that may affect individual Class members. Some of the common legal and

factual questions include:

               a. Whether JJCI ‘s act, practice or advertisement was consumer-oriented;




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               b. Whether JJCI’s conduct constituted an act, practice, or advertisement that was

                   misleading in a material respect;

               c. Whether the Class was thereby injured;

               d. Whether Defendant violated the common law of unjust enrichment; and

               e. The nature and extent of damages and other remedies to which the Class may

                   be entitled.

       24.     Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by the Class members. Similar or identical statutory and common law

violations and deceptive business practices are involved. Individual questions, if any, do not

predominate over the numerous common questions.

       25.     The injuries sustained by the Class members flow, in each instance, from a

common nucleus of operative facts—Defendant’s misconduct. In each case Defendant marketed

and sold Sudafed PE by misleading and deceiving Plaintiff and the Class that the active

ingredient in the product was effective in providing temporary relief of nasal congestion.

       26.     The Class members have been damaged by Defendant’s misconduct. The Class

members would not have purchased Sudafed PE products in the absence of Defendant’s

marketing campaigns and deceptive scheme.

       27.     Plaintiff’s claims are typical of the claims of the other Class members. Plaintiff

purchased Sudafed PE products and was actually deceived.

       28.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff is

familiar with the basic facts that form the bases of the Class members’ claims. Plaintiff’s

interests do not conflict with the interests of the other Class members that she seeks to represent.




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        29.    Plaintiff has retained counsel competent and experienced in Class action litigation

and intends to prosecute this action vigorously. Plaintiff’s counsel has successfully prosecuted

complex Class actions, including consumer protection Class actions. Plaintiff and Plaintiff’s

counsel will fairly and adequately protect the interests of the Class members.

        30.    The class action device is superior to other available means for the fair and

efficient adjudication of the claims of Plaintiff and the Class members. The relief sought by each

individual member of the Class is small given the burden and expense of individual prosecution

of the potentially extensive litigation necessitated by the conduct of Defendant. Furthermore, it

would be virtually impossible for the Class members to seek redress on an individual basis. Even

if the Class members themselves could afford such individual litigation, the court system could

not.

        31.    Individual litigation of the legal and factual issues raised by the conduct of

Defendant would increase delay and expense to all parties and to the court system. The Class

action device presents far fewer management difficulties and provides the benefits of a single,

uniform adjudication, economies of scale and comprehensive supervision by a single court.

Given the similar nature of the Class members’ claims and the absence of material differences in

the state statutes and common laws upon which the Class members’ claims are based, a

nationwide Class will be easily managed by the Court and the parties.

                                 VI.     CAUSES OF ACTION

                                            COUNT I

 VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW SECTIONS 349 and 350

        32.    Plaintiff incorporates by reference the preceding paragraphs.




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       33.     Pursuant to GBL§ 349, it is unlawful to engage in any deceptive acts or practices

in the conduct of any business, trade, or commerce in this State.

       34.     As set forth more fully above, Defendant engaged in deceptive business practices

in violation of GBL § 349.

       35.     As set forth more fully above, Defendant’s act, practice, and advertisement was

consumer-oriented.

       36.     Defendant’s deceptive business practice is the marketing, advertising,

distribution, and sale of an over-the-counter nasal decongestant that is no more effective at

treatment of nasal congestion than a placebo.

       37.     Plaintiff and the Class would not have purchased Sudafed PE products had they

known they were not effective at providing temporary relief of nasal congestion.

       38.     At minimum, Plaintiff and the Class would not have purchased Sudafed PE

products had they not seen the product packaging that promised relief from nasal congestion.

       39.     Where Defendant’s Sudafed PE product is combined with another active

ingredient, such as acetaminophen for pain relief, Plaintiff and the Class would not have paid the

premium Defendant charged for the additional active PE ingredient in Sudafed PE, when generic

acetaminophen sells for as little as $0.02 per tablet.

       40.     Pursuant to GBL §§ 349(b) and 350-d, Plaintiff seeks injunctive relief, restitution,

damages, and penalties.

                                             COUNT II

                                    UNJUST ENRICHMENT

       41.     Plaintiff re-alleges the preceding paragraphs as if fully set forth herein and, to the

extent necessary, pleads this cause of action in the alternative.




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       42.     Defendant received and retained wrongful benefits from Plaintiff and the Class in

the form of revenue derived from the sale of Sudafed PE within the State.

       43.     As a result of Defendant’s wrongful conduct as alleged herein, Defendant has

been unjustly enriched at the expense of, and to the detriment of, Plaintiff and the Class.

       44.     Defendant’s unjust enrichment is traceable to and resulted directly and

proximately from the conduct alleged herein.

       45.     It is inequitable for Defendant to be permitted to retain the benefits it received,

and is still receiving, without justification, from the sale of Sudafed PE within the State.

Defendant’s retention of such funds under circumstances making it inequitable to do so

constitutes unjust enrichment.

       46.     The financial benefits derived by Defendant within the State rightfully belong to

Plaintiff and the members of the Class. Defendant should be compelled to disgorge in a common

fund for the benefit of Plaintiff and Members of the Class all wrongful and inequitable proceeds

received from them. A constructing trust should be imposed upon all wrongful or inequitable

sums received by Defendants traceable to Plaintiff and the member so the Class.

       47.     Plaintiff and the Class have no adequate remedy at law.

                                 VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Class members request that the Court enter an order or

judgment against Defendant including the following:

       a.      Certification of the action as a Class Action pursuant to Rule 23(b)(3) of the

       b.      Federal Rules of Civil Procedure, and appointment of Plaintiffs as Class

Representatives and their counsel of record as Class Counsel;

       c.      Damages in the amount of monies paid for Sudafed PE products;




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        d.      Actual damages, statutory damages, punitive or treble damages, and such other

relief as provided by the statutes cited herein;

        e.      Pre-judgment and post-judgment interest on such monetary relief;

        f.      Other appropriate injunctive relief;

        g.      The costs of bringing this suit, including reasonable attorneys’ fees; and

        h.      All other relief to which Plaintiff and members of the Class may be entitled at law

or in equity.

                                         JURY DEMAND

        Plaintiff hereby demands trial by jury on his own behalf and on behalf of Class members.




Dated: September 13, 2023                               Respectfully submitted,


                                                        s/Darren T. Kaplan

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                                                        Attorneys for Plaintiff




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